 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 1 of 8 PageID 1125
                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 PROCCOR PHARMACEUTICALS, INC.,
      Plaintiff,
 v.                                               Case No. 8:22-cv-02227-SDM-SPF
 WORLD HEALTH PRODUCTS, LLC dba
 GAT SPORT and VITAMIN SHOPPE
 INDUSTRIES LLC, dba THE VITAMIN
 SHOPPE
      Defendants.


 PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE FOR A TWENTY (20) -
 DAY ENLARGEMENT OF TIME TO DISCLOSE EXPERT REPORTS AND
                  SUPPORTING MEMORANDUM

       Plaintiff, Proccor Pharmaceuticals, Inc., pursuant to    Federal Rule of Civil

Procedure 6(b)(l)(A) respectfully requests a twenty (20) day enlargement of time to

serve expert reports which are due on June 30, 2023. Proccor has not been able to

obtain discovery necessary to complete expert reports and has good cause to extend this

case management deadline.

                                     MEMORANDUM

       Federal Rule of Civil Procedure 6(b)(l)(A) provides that "[w]hen an act may

or must be done within a specified time, the court may, for good cause, extend the

time . . . if a request is made, before the original time or its extension expires . . .”

This request is made on the June 30, 2023 deadline for Plaintiff’s disclosure of

expert reports. There is good cause for granting the requested enlargement of time

given that Plaintiff’s counsel, despite the exercise of due diligence, has not been able

                                           2
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 2 of 8 PageID 1126
to obtain discovery needed to complete expert reports. Plaintiff’s counsel’s attempts

to obtain discovery and the relevant procedural history of this case are described

below.

      Proccor served its Amended Complaint on January 12, 2023. [Doc 32] On January

30, 2023 the Court entered its Case Management and Scheduling Order. [Doc 40] The

Order requires plaintiff’s expert reports to be disclosed on June 30, 2023. [Docs 23 and

40]

      On February 2, 2023 Proccor served interrogatories and requests for production of

documents on the Defendants. [Doc 51] The Defendants/Counter-Plaintiff did not answer

the interrogatories or produce any documents when due. On March 17, 2023, after

attempting unsuccessfully for more than a week to obtain this discovery, Proccor filed a

Motion to Compel Defendants to comply with Proccor’s discovery requests. Id. On May

17, 2023 the Court heard and granted Plaintiff’s Motion to Compel. [Doc 94]

      Two days later, on May 19, 2023, counsel for Proccor sent an email to all five

attorneys for GAT and Vitamin Shoppe requesting dates to depose employees of GAT

and Vitamin Shoppe, and to depose a corporate representative for each defendant. [Doc

110-2, p. 9] The email lists the topics to be covered in the depositions of the corporate

representatives, including “royalties you have paid or received within the past ten

years for the use of a trademark.” Id. Twenty days later, on June 8, 2023, counsel

for GAT and Vitamin Shoppe sent an email in which they asserted for the first time

that reasonable royalties were not an issue in this case and contended that they were


                                           3
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 3 of 8 PageID 1127
excluded from the Second Amended Complaint, even though the Second Amended

Complaint specifically demands damages for a reasonable royalty. [Doc 110-2, p. 1-

2, ¶4]

         On May 19, 24, 25, 26, 31 and June 1 (twice), 2, 5, and 6, 2023, Proccor’s

counsel sent emails to opposing counsel attempting to coordinate deposition dates.

Declaration of G. Donovan Conwell, Jr. attached as Exhibit 1. The emails are

attached as Exhibit A to the Conwell Declaration. He also conferred by phone on

May 25 and May 31 with defense counsel attempting to coordinate deposition dates,

however, defense counsel did not provide any dates. Exhibit 1 at ¶6. In his May 31,

2023 email, Proccor’s counsel wrote that since Defendants had not provided any

dates, he would unilaterally set the depositions. Exhibit A-5 to Exhibit 1.

         On June 6, 2023 Plaintiff served notices of taking the depositions of corporate

representatives of GAT and Vitamin Shoppe on June 16 and 19, 2023 and of six

GAT and Vitamin Shoppe employees on June 20 and 23, 2023. Exhibit 1 at A-11.

The notices of taking deposition are attached as Exhibit B to the Conwell

Declaration. The topics for the corporate depositions included “royalties you have

paid or received within the past ten years for the use of a trademark.” Id.

         Defendants’ counsel objected to Plaintiff unilaterally scheduling the

depositions and said he was working on coordinating the depositions. Conwell

Declaration at Exhibit C-1. Defense counsel said that Vitamin Shoppe’s

representative would be on his honeymoon and could not be deposed until after July


                                            4
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 4 of 8 PageID 1128
10, 2023. Exhibit C-2 to Conwell Declaration. He said he was working on dates for

the remaining depositions. Id. Defendants have not yet provided a date for any

deposition other than the 30(b)(6) deposition of GAT, which he said could be taken

on June 22, 2023. Exhibit 1, Conwell Decl. ¶7.

        On June 9, 2023, Proccor served amended notices of deposing corporate

representatives of GAT and Vitamin Shoppe on June 22 and 24, 2023, respectively.

[Doc 106-1] Defense counsel objected to the Vitamin Shoppe corporate deposition

and said a witness would not be produced on that date. Exhibit C-1 to Conwell

Declaration. Defendants also moved for a protective order to prevent any discovery

regarding a reasonable royalty. [Doc 106 and 107] On June 21, 2023, the Court

ordered that the reasonable royalty topic could not be covered during the corporate

depositions until the Motion for Protective Order was briefed and decided by the

Court. [Doc 112] Plaintiff has not yet obtained any discovery on the reasonable

royalty issue. Exhibit 1, Conwell Decl. ¶8.

       On June 22, 2023, Proccor took the deposition of the person designated by

GAT to testify on its behalf on the topics listed in the 30(b)(6) deposition notice. The

witness produced by GAT testified that he began his employment at GAT in January

2023 and that he did not become aware of this lawsuit or of the mark Freedom Pop

until March 2023.       1
                            The witness, therefore, was unable to answer many of the


       1
         The deposition transcript has been ordered but it is not yet completed. The representations in
this Motion and Memorandum concerning the witness’s testimony are made in good faith and can be
confirmed when the transcript is completed and made available.


                                                  5
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 5 of 8 PageID 1129
questions asked of him during his deposition.        When the witness answered a

question, it was often by reading verbatim from a document on his computer screen

that he testified was prepared with defense counsel and GAT’s Chief Financial

Officer, Jay Klein.

      Because the witness had no knowledge of any of the events in this case that

preceded his January 2023 start date with GAT (three months after Proccor filed this

lawsuit) he could not answer follow-up questions regarding the designated

deposition topics. For example, one of the listed topics in the deposition notice was

“Your [GAT’s] gross sales and profits from the sale of products branded with the

[FREEDOM POP] mark.” [Doc 110-2 p. 9] The witness read from the answer sheet

prepared by GAT’s counsel and CFO to state an amount of gross sales and profits.

But when asked whether the numbers on the answer sheet included sales of GAT

products called “NitraFlex Freedom Pop +C” and “pouch NitraFlex Freedom Pop”

he could not answer. He had never heard of these products even though they are

identified in many documents produced by GAT in this litigation as GAT products

that bore the name Freedom Pop and that GAT had ordered many thousands of these

products to be manufactured. Even when shown the documents he could not answer

the questions. Thus it appears that the gross sales and profit numbers testified to by

the witness are substantially understated. Proccor could not confirm that, however,

because the witness did not know the answer.




                                          6
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 6 of 8 PageID 1130
      The same thing happened when the witness was asked questions regarding

expenses. He simply read from documents provided to him by GAT’s counsel and

CFO identifying categories of expenses and totals but was unable to answer as to

specific categories of expenses whether any portion of the expense was in fact

incurred on a product bearing the mark Freedom Pop. When asked follow-up

questions he stated that he did not know the answer because he was not involved in

any of the events related to this lawsuit and said Proccor should ask those questions

to GAT’s CFO, who was involved from the start and who provided the information

to the witness on the 30(b)(6) topic for the GAT corporate deposition.

      GAT’s CFO, Jay Klein, in fact was present for the entire GAT corporate

deposition on June 22, 2023, but for some reason was not produced by GAT as its

designated representative to testify on the 30(b)(6) topics. The CFO is one of the

GAT employees listed in Proccor’s counsel’s May 19, 2023 email as a witness who

Proccor wanted to depose and for which Proccor was attempting to clear deposition

dates. Exhibit A-1 to Conwell Declaration. When Defendants did not provide a date,

Proccor included Mr. Klein in its June 6, 2023 deposition notice and scheduled him

for deposition on June 20, 2023. Exhibit B-3 to Conwell Declaration. Defense

counsel, however, said that the witness was unavailable and that his deposition had

to be rescheduled for another date which they would provide. Defendants have not

yet provided a date for Mr. Klein’s deposition. Exhibit 1, Conwell Declaration, ¶7.




                                          7
 Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 7 of 8 PageID 1131
      Plaintiff is requesting a twenty-day enlargement of time. During that time

Plaintiff intends to depose the witnesses who Plaintiff has been attempting to depose

since May 19, 2023. Since deposition dates have not yet been provided, Plaintiff

may have no choice but to file another motion to compel discovery.

      This request for enlargement of time is not requested in bad faith, has no

dilatory motive, and will not prejudice the Defendants.

                                  Rule 3.01(g) Certificate

   Pursuant    to   Local      Rule   3.0l(g),   Plaintiff’s counsel   conferred   with

Defendants’ counsel regarding the requested extension of time and represents that the

Defendants are not opposing this motion.


Dated: June 30, 2023



                         By:     /s/ G. Donovan Conwell, Jr.
                                 G. Donovan Conwell, Jr.
                                 Florida Bar No.: 0371319
                                 CONWELL BUSINESS LAW, LLLP
                                 12610 Race Track Road, Suite 200
                                 Tampa, FL 33626
                                 Tel. (813) 282-8000, Fax: (813) 855-2631
                                 dconwell@conwellbusinesslaw.com
                                eservice@conwellbusinesslaw.com
                                Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of June 2023, I served a copy of this
Motion for Enlargement of time on all counsel of record by email because the Court’s
portal is down.


                                            8
Case 8:22-cv-02227-SDM-SPF Document 117 Filed 07/01/23 Page 8 of 8 PageID 1132




                                      9
